Scott Lieske
Chapter 13 Trustee
United States Bankruptcy Court
Eastern District Of Wisconsin

 

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August 11, 2021
Clerk of the US Bankruptcy Court on
126 U S Courthouse BE: f
517 E. Wisconsin Avenue ae =~
Milwaukee, WI 53202 ge = x

Se — 5
RE: DAVID L. HOWARD GX oe 3
Case No. 19-29215-KMP zo 2s
SD ORE a

TS: gm

SE: |

Dear Clerk of the US Bankruptcy Court:
Enclosed please find check # 1632742 in the amount of $8,946.21. This check replaces the

following check, for the same dollar amount, in the above case:

Original Check No.: 1625084

Original Payee: David L. Howard
10001 West Appleton Ave., Apt. 113

Milwaukee, WI 53225
Please deposit these funds as unclaimed funds, as they were returned by the United States

Postal Service or were uncashed by the original payee.

Thank you,
Scatt Lieshe

Scott Lieske
Chapter 13 Standing Trustee

SL

cc: file

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